              Case 22-31737-sgj11                   Doc 1         Filed 09/23/22 Entered 09/23/22 14:20:03                                Desc Main
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Fill in this information to identify the case:

United States Bankruptcy Court for the:

Northern District of Texas, Dallas Division
Case number (if known)                                                           Chapter 11
                                                                                                                                    Check if this an
                                                                                                                                    amended filing



Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                                 12/15
Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin a case
against a non-individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If more space
is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor's name and case number (if known).

Part 1:     Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed
1. Chapter of the Bankruptcy         Check one:
   Code
                                                  Chapter 7
                                                  Chapter 11
Part 2: Identify the Debtor
 2. Debtor's name     AiBUY Holdco, Inc.

3. Other names you      AiBUY, Inc.
   know the debtor
   has used in the last a.k.a Cinsay, Inc.
   8 years

     Include any
     assumed names,
     trade names, or
     doing business as
     names.

4. Debtor's federal Employer              Unknown
   Identification Number (EIN)
                                     EIN

 5. Debtor's address       Principal place of business                                              Mailing address, if different

                           13355 Noel Road, 4th Floor                                                     13355 Noel Road, 4th Floor
                           Number                Street                                                   Number           Street

                                                                                                          P.O. Box
                           Dallas TX 75240-0000                                                           Dallas TX 75240-0000
                           City                                     State       Zip Code                  City                          State          Zip Code

                                                                                                          Location of principal assets, if different from principal
                           Dallas                                                                         place of business
                           County
                                                                                                          Number       Street


                                                                                                          City                         State           Zip Code


6.    Debtor's website (URL)         www.aibuy.io

7.    Type of debtor       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)
                           Partnership (excluding LLP)
                           Other type of debtor. Specify:
8. Type of debtor's      Check one:
   business
                            Health Care Business (as defined in 11 U.S.C. § 101(27A)
                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B)
                            Railroad (as defined in 11 U.S.C. § 101(44)
                            Stockbroker (as defined in 11 U.S.C. § 101(53A)

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Debtor      AiBUY Holdco, Inc.                                                                            Case number (if known)

                            Commodity Broker (as defined in 11 U.S.C. § 101(6)
                            Clearing Bank (as defined in 11 U.S.C. § 781(3)
                            None of the types of business listed.
                            Unknown type of business.

9. To the best of            No
   your knowledge,           Yes. Debtor                                                                          Relationship
   are any
   bankruptcy cases                        District                            Date filed                         Case number, if known
   pending by or                                                                             MM / DD / YYYY
   against any
   partner or affiliate
   of this debtor?

                                           Debtor                                                                 Relationship
                                           District                            Date filed                         Case number, if known
                                                                                             MM / DD / YYYY

Part 3: Report About the Case
10. Venue              Check one:

                             Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of business, or principal assets
                            in this district longer than in any other district.
                             A bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.


11.    Allegations        Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                          The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                          At least one box must be checked:

                             The debtor is generally not paying its debts as they become due, unless they are in the subject of a bona fide dispute as to liability
                            or amount.
                             Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or agent appointed or authorized to take
                            charge of less than substantially all of the property of the debtor for the purpose of enforcing a lien against such property, was
                            appointed or took possession.

12. Has there been a         No
    transfer of any          Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy Rule 1003(a).
    claim against the
    debtor by or to
    any petitioner?

13. Each petitioner's claim Name of petitioner                                   Nature of petitioner's claim                                Amount of the claim
                                                                                                                                             above the value of any
                                                                                                                                             lien
                                Jon Gunderson                                    Promissory Note                                               $575,075.97
                                                                                                                                               $
                                                                                                                                               $
                                John Kutasi                                      Promissory Note                                              $1,624,933.33
                                                                                                                                              $
                                                                                                                                              $
                                Deposits Inc.                                    Trade Creditor                                               $39,821.30
                                                                                                                                              $
                                                                                                                                              $
                                                                                                           Total of petitioners' claims $2,239,830.60
                                If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor's
                                name and the case number, if known, at top of each sheet. Following the format of this form,
                                set out the information required in Parts 3 and 4 of the form for each statement under penalty
                                of perjury set out in Part 4 of the form, followed by each additional petitioner's (or
                                representative's) signature, along with the signature of the petitioner's attorney.



 Part 4 Request for Relief
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



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Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a petitioning creditor is a
corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a foreign representative appointed in a foreign
proceeding, attach a certified copy of the order of the court granting recognition.

I have examined the information in this document and have a reasonable belief that the information is true and correct.
     Petitioners or Petitioners' Representative                                  Attorneys


Name and mailing address of petitioner
Jon Gunderson                                                                             John E. Mitchell
Name                                                                                      Printed name

2217 Sea Biscuit, #107                                                                    Katten Muchin Rosenman LLP
Number         Street                                                                     Firm name, if any
Spicewood, TX 78669-0000                                                                  2121 North Pearl Street, Suite 1100
City                                              State       Zip Code                    Number      Street
                                                                                          Dallas, TX 75201-2591
Name and mailing address of petitioner's representative, if any                           City                                          State         Zip Code
                                                                                          Contact phone        (469) 627-7017           Email john.mitchell@katten.com
Name
                                                                                          Bar number      00797095

                                                                                          State           TX
Number         Street
  00000-0000
City                                              State       Zip Code

I declare under penalty of perjury that the foregoing is true and correct.
Executed on                                                                                /s/ John E. Mitchell
                   MM / DD / YYYY                                                         Signature of attorney
                                                                                          Date signed      09/23/2022
                                                                                                           MM / DD / YYYY
Signature of petitioner or representative, including representative's title


    Petitioners or Petitioners' Representative                                        Attorneys


Name and mailing address of petitioner
John Kutasi                                                                               John E. Mitchell
Name                                                                                      Printed name

5627 Sloan Place                                                                          Katten Muchin Rosenman LLP
Number         Street                                                                     Firm name, if any
Calabasas, CA 91302-0000                                                                  2121 North Pearl Street, Suite 1100
City                                              State       Zip Code                    Number      Street
                                                                                          Dallas, TX 75201-2591
Name and mailing address of petitioner's representative, if any                           City                                          State         Zip Code
                                                                                          Contact phone        (469) 627-7017           Email john.mitchell@katten.com
Name
                                                                                          Bar number      00797095

                                                                                          State           TX
Number         Street

City                                              State       Zip Code

I declare under penalty of perjury that the foregoing is true and correct.
Executed on                                                                                  /s/ John E. Mitchell
                   MM / DD / YYYY                                                         Signature of attorney
                                                                                          Date signed     09/23/2022
                                                                                                           MM / DD / YYYY
Signature of petitioner or representative, including representative's title




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Debtor      AiBUY Holdco, Inc.                                                                                 Case number (if known)

    Petitioners or Petitioners' Representative                                        Attorneys


Name and mailing address of petitioner
Deposits Inc.                                                                             John E. Mitchell
Name                                                                                      Printed name

2001 Ross Avenue, Suite 7001558F                                                          Katten Muchin Rosenman LLP
Number        Street                                                                      Firm name, if any
Dallas, TX 75201-0000                                                                     2121 North Pearl Street, Suite 1100
City                                              State       Zip Code                    Number      Street
                                                                                          Dallas, TX 75201-2591
Name and mailing address of petitioner's representative, if any                           City                                          State         Zip Code
                                                                                          Contact phone        (469) 627-7017           Email john.mitchell@katten.com
Name
                                                                                          Bar number      00797095

                                                                                          State           TX
Number        Street

City                                              State       Zip Code

I declare under penalty of perjury that the foregoing is true and correct.
Executed on                                                                                /s/ John E. Mitchell
                   MM / DD / YYYY                                                         Signature of attorney
                                                                                          Date signed      09/23/2022
                                                                                                           MM / DD / YYYY
Signature of petitioner or representative, including representative's title




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Debtor      AiBUY Holdco, Inc.                                                                                 Case number (if known)

    Petitioners or Petitioners' Representative                                        Attorneys


Name and mailing address of petitioner
Deposits Inc.                                                                             John E. Mitchell
Name                                                                                      Printed name

2001 Ross Avenue, Suite 7001558F                                                          Katten Muchin Rosenman LLP
Number        Street                                                                      Firm name, if any
Dallas, TX 75201-0000                                                                     2121 North Pearl Street, Suite 1100
City                                              State       Zip Code                    Number      Street
                                                                                          Dallas, TX 75201-2591
Name and mailing address of petitioner's representative, if any                           City                                          State         Zip Code
                                                                                          Contact phone        (469) 627-7017           Email john.mitchell@katten.com
Name
                                                                                          Bar number      00797095

                                                                                          State           TX
Number        Street

City                                              State       Zip Code

I declare under penalty of perjury that the foregoing is true and correct.
Executed on       9/23/22
                   MM / DD / YYYY                                                         Signature of attorney
                                                                                          Date signed
                                                                                                           MM / DD / YYYY
Signature of petitioner or representative, including representative's title




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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 In re:                                             §     Chapter 11
                                                    §
 AIBUY HOLDCO, INC.                                 §     Case No. 22-_____(___)
                                                    §
                  Alleged Debtor.                   §
                                                    §

                         CORPORATE OWNERSHIP STATEMENT

          Pursuant to rules 7007.1 and 1010(b) of the Federal Rules of Bankruptcy Procedures,

Deposits, Inc. (“Deposits”) hereby files its Corporate Ownership Statement and states that Joseph

Akintolayo is the majority shareholder of Deposits and that no other public entity directly or

indirectly holds 10% or more of the equity interests of Deposits.



          9/23/22
Dated: _______________
                                               Joseph Akintolavo
                                               Deposits, Inc., CEO




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